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Form 201

                                     UNITED STATES BANKRUPTCY COURT
                                                   Middle District of North Carolina
                                                      101 S. Edgeworth Street
                                                       Greensboro, NC 27401


                                                                                          Bankruptcy Case No.: 06−10498
IN THE MATTER OF:
Nathan Jerome Wade   xxx−xx−7858
704 W. Kivett Street
Asheboro, NC 27203

   Debtor(s)




                                                             FINAL DECREE


 The estate of the above named debtor(s) has been fully administered.

IT IS ORDERED THAT:
    William P. Miller is discharged as trustee of the estate of the above named debtor.
   The Chapter 7 case of the above named debtor is closed.




Dated: 12/28/06
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 Bankruptcy Noticing Center
 2525 Network Place, 3rd Floor
                                 CERTIFICATE OF SERVICE
 Herndon, Virginia 20171-3514

 District/off: 0418-2                 User: robert                        Page 1 of 1                         Date Rcvd: Dec 28, 2006
 Case: 06-10498                       Form ID: 201                        Total Served: 4

 The following entities were served by first class mail on Dec 30, 2006.
 db          +Nathan Jerome Wade,    704 W. Kivett Street,   Asheboro, NC 27203-6231
 aty         +Julie H. Stubblefield,    117 Sunset Ave.,   Asheboro, NC 27203-5607
 tr          +William P. Miller,    Roberson Haworth & Reese, PLLC,   300 N. Main St, Suite 300,   P. O. Box 1550,
                High Point, NC 27261-1550
 ust         +Michael D West,    Bankruptcy Administrator,   P.O. Box 1828,   Greensboro, NC 27402-1828
 The following entities were served by electronic transmission.
 NONE.                                                                                                              TOTAL: 0
               ***** BYPASSED RECIPIENTS *****
 NONE.                                                                                                              TOTAL: 0
 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.




I, Joseph Speetjens, declare under the penalty of perjury that I have served the attached document on the above listed entities in the manner
shown, and prepared the Certificate of Service and that it is true and correct to the best of my information and belief.

First Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.




Date: Dec 30, 2006                                      Signature:
